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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

KENNETH HARRIOTT                          )
11003 Waco Drive                          )
Upper Marlboro, MD 20772                  )
                                          )
       and                                )
                                          )
TONY OJOH                                 )
49909 Haverwood Lane                      )
Suite 3218                                )
Dallas, TX 75287                          )
                                          )
       On behalf of themselves and        )
       all those similarly situated,      )
                                          )
               Plaintiffs,                )
                                          )
                      v.                  )       Civil Action No. ________________
                                          )
WASHINGTON METROPOLITAN                   )
AREA TRANSIT AUTHORITY,                   )
600 5th Street, NW                        )
Washington, DC 20001                      )
                                          )
               Defendant.                 )

                                    COMPLAINT
                          (Discriminatory Termination in
                Violation of Title VII of the Civil Rights Act of 1964)

       COME NOW the Plaintiffs Kenneth Harriott and Tony Ojoh, by and through their

attorneys, Webster & Fredrickson, PLLC, for the Complaint in the above-captioned action

and states to this Honorable Court as follows:

                                    INTRODUCTION

       1.      This is a civil action brought by Plaintiffs Kenneth Harriott and Tony Ojoh,

on behalf of themselves and those similarly situated, against Defendant Washington

Metropolitan Area Transit Authority (“WMATA”) under the anti-discrimination

provisions of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e, et seq.

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       2.      Angel Pena, the managing Director of the Office of Quality Assurance,

Internal Compliance & Oversight (“QICO”), forced his subordinate managers “to come up

with dirt on people so that he could fire them.” Pena undertook “an entire laundry list of

just plain bad and corrupt business practices” which resulted in the termination of

employment of nearly forty employees under Pena’s supervision. Of those, all but two

were either black or of foreign national origin (and non-white). WMATA engaged in

systemic discrimination in favor of white employees.

                                       JURISDICTION

       3.      This court has jurisdiction over this matter pursuant to 42 U.S.C. § 2000e-

5(f)(3), and 28 U.S.C. § 1331.

       4.      Venue is proper under 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1391 as

most of the acts complained of herein occurred in the District of Columbia.

       5.      Within 180 days of the discriminatory terminations complained of herein,

Plaintiffs filed claims of discrimination with the Equal Employment Opportunity

Commission.

       6.      On March 29, 2019 and April 3, 2019, the Equal Opportunity Commission

issued notices of right to file a civil action for Mr. Harriott and Mr. Ojoh respectively.

       7.      Plaintiffs filed the instant action within ninety days of service and ninety

days of receipt of the notice of their right to file a civil action.

       8.      Eight additional similarly situated former QICO employees have charges of

discrimination pending with the Equal Employment Opportunity Commission.

       9.      Plaintiff Kenneth Harriott is an adult male African-American resident of the

State of Maryland.

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       10.    Plaintiff Tony Ojoh is an adult male resident of the State of Texas. Mr. Ojoh

is originally from Nigeria.

       11.    In addition to Mr. Harriott and Mr. Ojoh, eight additional former QICO

employees have claims pending before the EEOC: Mr. Berhe Weldemichael, Quality

Mission Assurance Officer; Mr. Lenthe Barber, Jr., Quality Mission Assurance Inspector;

Mr. Pradeep Chumble, Quality Mission Assurance Officer; Mr. Louis Rugemintawaza,

Quality Mission Assurance Officer; Ms. Sharon Cannon, Quality Mission Assurance

Officer; Mr. Ulysses Johnson, Quality Mission Assurance Officer; Ms. Tonia Burrell,

Quality Mission Assurance Officer; and Mr. Anthony Ufoh, Quality Assurance Mission

Officer.

       12.    In addition, Plaintiffs bring this lawsuit on behalf of all others similarly

situated: African-American and foreign-born persons of color in QICO terminated under

Angel Pena.

       13.    Defendant Washington Metropolitan Area Transit Authority (“WMATA”),

created effective February 20, 1967, is an interstate compact agency. WMATA is an

employer for the purposes of Title VII.

                          FACTS GIVING RISE TO RELIEF

Pena and WMATA Engage in Systemic Discrimination on the Basis of Race
                       and National Origin

       14.    WMATA’s QICO is an internal management division that conducts internal

reviews of WMATA’s operations. The internal reviews and audits are intended to provide

WMATA management with assessments of the state of operations upon which managers

can make decisions.




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       15.    QICO employs approximately 50 Assurance Officers and Assurance

Inspectors over 4 divisions.

       16.    Approximately half of the QICO Assurance Officers and Assurance

Inspectors employed by WMATA in the relevant time period were Caucasian; the other

half were African-American or foreign-born persons of color.

       17.    QICO Managing Director Angel Pena directly or indirectly through QICO

managers like Robin Hahn, Brian Smith, and Hakim Davis, ordered the terminations of

nearly forty employees over the course of 2016 to 2018.

       18.    Of these terminated employees, nearly every single one was African-

American or a foreign-born person of color.

       19.    Pena and WMATA did not have legitimate grounds for these terminations,

and instead, Pena instructed his subordinate managers “to come up with dirt on people

so that he could fire them.”

       20.    In so doing, Pena undertook “an entire laundry list of just plain bad and

corrupt business practices.”

       21.    Upon information and belief, WMATA’s Inspector General found that Pena

and Carlos Proctor, the Plaintiffs’ Managing Director and Program Manager respectively,

engaged in an illegal practice of eliminating jobs and firing employees so that he could

hire replacement contractors from his friend’s company (HNTB General Manager).

       22.    Pena and WMATA’s decision to fire these employees, including Plaintiffs,

had nothing to do with their performance.

       23.    WMATA’s treatment of Plaintiffs Harriott and Ojoh, along with others

similarly situated, is consistent with Pena’s efforts to create dirt on employees to provide

a false justification for discriminatory terminations.

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          Pena and WMATA Fire Almost Exclusively Persons of Color

      24.    Indeed, Plaintiffs Harriott and Ojoh, along with Tonia Burrell and Anthony

Ufoh all were transferred to QICO from Office of Safety.

      25.    From November 2017 to July 2018, Messrs. Harriott, Ojoh, and Ufoh and

Ms. Burrell worked in QICO under Pena.

      26.    All had track records of success at WMATA.

      27.    None had any serious documented performance issues.

               WMATA Transfers Ken Harriott then Terminates
                    Him with No Legitimate Reason

      28.    Plaintiff Harriott had been employed at WMATA for 17 years at the time of

his termination.

      29.    Plaintiff Harriott served as a Quality Assurance and Warranty Officer,

Acting Quality Assurance Manager, and Safety Assurance Officer during his WMATA

tenure.

      30.    As of November 2017, Plaintiff Harriott was assigned as a Safety Assurance

Lead auditor (in Safety) for FTA, NTSB and Tri-State oversight internal WMATA audits

and was a team member of the Internal Safety and Security Review (ISSR) audit group.

      31.    On November 20, 2017, Mr. Harriott (along with Tony Ufoh, Tony Ojoh,

Tonia Burrell, and Daniel Gebremeskel) was involuntarily transferred from the Office of

Safety to the Office of Quality and Internal Compliance.

      32.    WMATA management provided no clear explanation for this transfer.

      33.    Following the transfer, WMATA management gave Mr. Harriott a series of

assignments with short turnaround times, including assignments to write audit plans,




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create questionnaires, conduct audits, and complete written reports, convene closing

meetings and follow-up verifications.

      34.    WMATA denied Mr. Harriott access to QICO databases that other QICO

teams used daily to access templates, reference material and other pertinent information.

      35.    Despite these, and other impediments placed in his way, Mr. Harriott

continued to do excellent work as he had during his career with WMATA.

      36.    The reports Mr. Harriott completed were reviewed, and signed off by other

QICO employees at QICO downtown offices.

      37.    Mr. Harriott did not have any documented performance issues.

      38.    Nevertheless, on July 17, 2018, WMATA terminated Mr. Harriott’s

employment. The letter of termination did not reference any alleged performance issues

and there were none.

      39.    WMATA fired Plaintiff Ojoh, Tonia Burrell, and Anthony Ufoh—all African-

American or foreign-born persons of color—on the same day.

      40.    WMATA did not fire any white employees at that time.

             Following this Pattern, WMATA Fired Plaintiff Ojoh

      41.    Plaintiff Ojoh’s story is very similar to that of Mr. Harriott.

      42.    Mr. Ojoh was also transferred from the Safety division to QICO in

November 2017.

      43.    Mr. Ojoh, like Mr. Harriott, was given assignments with short deadlines and

with artificial impediments to completion of those projects.

      44.    Nevertheless, Mr. Ojoh continued his excellent work—WMATA used a

major audit report that Mr. Ojoh performed and later published Mr. Ojoh’s report on its

website. WMATA improperly took Mr. Ojoh’s name off the report and replaced it with

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contractors who did not perform the work. Yet, the fact that WMATA used the report with

little revisions reflects Mr. Ojoh’s excellent performance.

       45.    WMATA fired Mr. Ojoh on July 17, 2018 without providing any grounds for

the termination other than stating that Mr. Ojoh was an at-will employee.

       46.    WMATA later claimed it fired Mr. Ojoh for performance reasons, but had

not followed its policies concerning performance management.

Other African-American and Foreign-Born Persons of Color Also Suffered
                           Discrimination

       47.    The experience of other QICO employees highlights the pattern of

discrimination in that department.

       48.    For example, at one time, there were eight total QMA/Rolling Stock

Assurance Officers. Of those eight, six were either African-American or foreign-born

persons of color. Two were white.

       49.    All African-American or foreign-born Officers completed their tasks

independently. Five out of six were fired and those terminations were based on pretextual

reasons; the other African-American was written was up.

       50.    One white Officer (Michael Davis) was assigned very little work. The second

white Officer (Phil Grove) was assigned to a single 2017 project, and his project was

completed by private contractors. Both Davis and Grove have been retained.

       51.    All five African-American or foreign-born Officers that were terminated

were qualified to perform the job based on their education backgrounds and experience.

       52.    Both of the white Officers that were retained either did not have the

requisite educational background or did not have proper Quality Assurance experience.




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        53.   There were nine total QMA/Rolling Stock Assurance Inspectors. Of those

nine, four were African-American or foreign-born persons of color, and five were white:

Out of the four African-American or foreign-born Inspectors: One was fired (Lenthe

Barber, Jr); two were written up and forced to retire (Jesus Sandoval and Garrett Harper)

one (Alemu Marde) was forced to move to another department. All five of the white

Inspectors were retained.        Two were even promoted to Quality Assurance Officer,

replacing these African-American and foreign-born persons of color. The two African-

American or non-American Officers Rolling Stock Assurance Inspectors that were fired

or forced to retire were the most experienced inspectors in WMATA. QICO had previously

fired Ulysses Johnson and Sharon Cannon, two other African-American WMATA

QMA/Rolling Stock Assurance Officers fired by WMATA in late April 2017.

Discrimination explains why the vast majority of those fired were non-white or foreign-

born.

                 WMATA Did Not Have Legitimate Reasons to
          Fire Other African-American and Foreign-Born Employees

        54.   As with Mr. Harriott and Mr. Ojoh, WMATA claimed that each of these

other employees, Mr. Weldemichael, Mr. Barber, Mr. Chumble, Mr. Louis

Rugemintawaza, Ms. Cannon, Mr. Johnson, Ms. Burrell, and Mr. Ufoh, had performance

issues justifying termination.

        55.   Rather than legitimately evaluate these QICO employees, WMATA, through

Pena and QICO managers Robin Hahn and Brian Smith, created fabricated or falsified

reasons to justify termination for each, sometimes out of whole cloth.

        Mr. Weldemichael, Mr. Barber, Mr. Chumble, and Mr. Rugemintwaza

        56.   Mr. Weldemichael, Mr. Barber, Mr. Chumble, and Mr. Rugemintwaza each


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had excellent performance evaluation reviews in past years (12 years, 3 years, 16 years &

12 years respectively) in their respective positions within WMATA. Mr. Weldemichael,

Mr. Barber, Mr. Chumble and Mr. Rugemintwaza were "Role Model" or “Competent”

employees every year they were QMA/Rolling Stock Assurance Officers or Inspectors. All

hold bachelor degrees (Engineering), relevant QA Audit/Inspection Certifications, and

fifteen-to-twenty years of Quality Assurance experience.

      57.    WMATA’s strategy for terminating these employees followed a pattern:

WMATA would create a paper trail that seemed to provide plausible justifications for

firing these employees, but when examined, those explanations prove to be false.

      58.    WMATA management would write up employees for not completing tasks

that were not assigned to them, criticize them for incomplete tasks from a decade earlier

that were not their responsibility, and set them up to fail by assigning them tasks that

were impossible to complete within the given deadlines—and which were not even

continued after firing these QICO. At the same time, WMATA routinely ignored WMATA

policies when downgrading already-issued performance evaluations.

      59.    For example, Mr. Weldemichael signed off on his performance evaluation

in March 2017, as did his supervisor. In violation of WMATA procedures, WMATA

management then asked Mr. Weldemichael to sign another performance evaluation

covering the same time period.

      60.    This new performance evaluation reflected downgraded performance.

WMATA management downgraded Mr. Weldemichael’s evaluation, despite the fact that

the same manager who had repeatedly and in writing praised Mr. Weldemichael’s

performance on the very tasks WMATA management now criticized.



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         61.   Mr. Barber and Mr. Chumble had similar experiences—their excellent

performance for 2016 were changed to reflect poorer performance. In each case, these

downgraded evaluations were submitted to Human Resources as justification for

termination.

         62.   WMATA management criticized both Mr. Weldemichael and Mr. Chumble

for their performance on the RTRA Supervisor Audit. Mr. Weldemichael and Mr.

Chumble were called in to fix the audit that was the manager’s responsibility. Mr.

Weldemichael and Mr. Chumble did so and completed their task on time. Yet, both were

still criticized for their work on the project when the delays and errors were not their

doing.

         63.   WMATA claimed that Mr. Chumble and Mr. Barber had “open” audits from

years past. The implication by WMATA management was that Mr. Chumble and Mr.

Barber were somehow to blame for the lack of closure for these audits. In fact, corrective

action plans by the auditees needed to be put in place before the audits were closed. The

implementation of corrective action plans was outside the control of Mr. Chumble or Mr.

Barber and did not reflect on their performance at all. In fact, in years past both Mr.

Chumble and Mr. Barber received “Exceed Expectations” performance evaluations

related to these very tasks.

         64.   WMATA management claimed that Mr. Weldemichael, Mr. Barber and Mr.

Chumble each failed to record or log a sufficient number of audits or inspections. Yet, in

each case, these employees’ work circumstances had changed such that each no longer

was responsible for conducting the particular audits or inspections at issue.

         65.   In contrast to WMATA’s treatment of white and American-born

counterparts, WMATA management required that each of the Quality Assurance Officer

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Complainants create stand-alone “quality program plans” in short order. “Program plans”

are developed alongside a program management plan (PMP).

      66.     If there is no project management plan, it is impossible to develop a stand-

alone Program Plan. This is why the QICO department had never created program plans

for ongoing operations and had no template to do so.

      67.     When the employees sought assistance from WMATA management, none

was forthcoming. And after the termination of these employees in July 2017, WMATA

discontinued all work on these stand-alone program plans and continued operations as

before.

      68.     WMATA assigned these difficult projects for the sole purpose of setting up

these African-American and foreign-born persons of color to fail.

      Sharon Cannon and Ulysses Johnson

      69.     WMATA’s terminations of Sharon Cannon and Ulysses Johnson in April

2017 followed the same pattern.

      70.     Ms. Cannon joined WMATA as a Quality Assurance Officer in 2013. In

2015, Ms. Cannon earned “Role Model” performance evaluations.

      71.     She continued her excellent work in 2016 and submitted a self-evaluation

to that effect. Despite having never been counseled during the year, and no concerns

about her performance raised, WMATA management gave Ms. Cannon a “needs

improvement” evaluation. In that evaluation, WMATA management falsely criticized Ms.

Cannon for not completing tasks that were never assigned to her.

      72.     WMATA then fired Ms. Cannon on April 24, 2017. No one provided any

explanation in the meeting beyond stating Ms. Cannon was an at-will employee. Yet,

when Ms. Cannon applied for unemployment insurance, WMATA falsely claimed she had

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engaged in misconduct despite having never intimated that this was the case (and in fact

there was no misconduct).

       73.    WMATA took a similar tack with Ulysses Johnson. Mr. Johnson worked in

the transportation field for nearly three decades and joined WMATA in 2008. In 2013,

Mr. Johnson accepted a promotion to the Quality Assurance and Warranty Department

(QAAW) where he was assigned to the Car Track Equipment Maintenance Department

(CTEM). In that role, Mr. Johnson was responsible for new equipment acceptance and

traveled to different vendors.

       74.    In 2016, management changed the focus of Mr. Johnson’s job. In February

2016, the new Managing Director of Quality stated that there would be a new focus on

high level audits.

       75.    In September 2016, WMATA management stated to Mr. Johnson and

others in a staff meeting that all other projects would be on hold and that staff was to

focus on the Passenger Skills Assessment Audits (“PSA’s”). The PSA’s were confidential

assessments that monitor the operator’s performance on a particular route. Coinciding

with the PSA project, Mr. Johnson’s group was assigned to conduct a Station Manager

Assessment Audit. The Station Manager audit was completed in December 2016 and the

PSA’s were on-going. All indications were that management was pleased with the work.

       76.    However, when it came time to fill out performance evaluations, WMATA

management criticized Mr. Johnson for not completing tasks that Mr. Johnson’s manager

herself put on hold in favor of the special assignments.

       77.    Then, after failing to allow Mr. Johnson any process for review of the

evaluation, and without ever placing Mr. Johnson on a performance improvement plan



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per WMATA’s policies and practice, WMATA fired Mr. Johnson. The only explanation

provided was that Mr. Johnson was an “at-will” employee.

                                 COUNT I
 (Discrimination on the Basis of Race in Violation of the Civil Rights Act of
                           1964, as amended.)

       78.      Plaintiffs incorporate by reference and re-allege each of the allegations

contained in paragraphs 1-77 of this Complaint with the same force and vigor as if set out

here in full.

       79.      Plaintiffs, and all those similarly situated, were fired by Defendant WMATA

because of their race and/or national origin in violation of Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. § 2000e, et seq.

       80.      As a direct and proximate result of the unlawful acts of Defendant WMATA

Plaintiffs suffered and continue to suffer lost earnings and benefits, pain, suffering,

humiliation and mental distress.

                                *                *            *

        WHEREFORE, the premises considered, Plaintiffs respectfully prays that this

Honorable Court:

       1.       Enter judgment on Plaintiffs’ behalf against Defendant;

       2.       Award Plaintiffs compensatory damages, and other damages;

       3.       Instate Plaintiffs to the positions held prior to their unlawful terminations

or other equivalent positions;

       4.       Award Plaintiffs all lost pay;

       5.       Award Plaintiffs their court costs, expenses, attorneys’ fees, prejudgment

interest and post-judgment interest;



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      6.     Declare that Defendant’s conduct is in violation of Title VII of the Civil

Rights Act of 1964, as amended; and

      7.     Grant such other relief as this Court deems just and proper.

                                 Respectfully submitted,

                                 WEBSTER& FREDRICKSON, PLLC

                                 /s/ Geoffrey H. Simpson
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                             JURY DEMAND

Plaintiff demands a trial by jury on all issues contained herein.




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